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 7
                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 8
                                    AT SEATTLE
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10     FEDERAL INSURANCE                             CASE NO. C13-0926JLR
       COMPANY,
11                                                   ORDER GRANTING MOTION
                            Plaintiff,               TO STAY PROCEEDINGS
12
                     v.
13
       HOLMES WEDDLE & BARCOTT
14     PC, et al.,

15                          Defendants.

16                                  I.    INTRODUCTION

17         Before the court are Defendant Holmes Weddle & Barcott P.C.’s (“Holmes

18 Weddle”) motion to stay proceedings (Mot. to Stay (Dkt. # 17)) and Plaintiff Federal

19 Insurance Company’s (“Federal”) motion for summary judgment (MSJ (Dkt. # 26)). This

20 is an insurance coverage dispute. The defendant, Holmes Weddle, is a law firm. The

21 plaintiff, Federal Insurance Company (“Federal”) is Holmes Weddle’s malpractice

22 insurer. Holmes Weddle is being sued for legal malpractice in a separate action in state


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 1 court and has made a claim for coverage with Federal. Federal asserts that there is no

 2 coverage and seeks a declaratory judgment that it has no duty to defend or indemnify

 3 Holmes Weddle. In response, Holmes Weddle argues that the court must stay this

 4 coverage action because it is impossible to make a coverage determination without

 5 finding facts that would prejudice Holmes Weddle in the ongoing malpractice action.

 6         The court agrees with Holmes Weddle and GRANTS the motion to stay.

 7 Previously, the court deferred ruling on the stay request until after briefing on Federal’s

 8 motion for summary judgment was complete. (11/14/13 Order (Dkt. # 38).) The court

 9 reasoned that summary judgment briefing would help determine whether the case could

10 be resolved without finding facts that would cause prejudice to Holmes Weddle in the

11 malpractice action. (See id. at 5-6.) That briefing has now arrived, and the court has

12 reviewed it. (See MSJ; Resp. (Dkt. # 43); Reply (Dkt. # 49).) The briefing has

13 substantially clarified the issues in the case, and it is now evident that the court cannot

14 rule on Federal’s motion for summary judgment without causing prejudice to Holmes

15 Weddle’s malpractice defense. Accordingly, the court GRANTS the motion to stay and

16 STRIKES the pending summary judgment motion without prejudice to re-raising the

17 arguments contained therein after any threat of prejudice has subsided.

18                                   II.   BACKGROUND

19         There are three different lawsuits involved in this case. The first of these is Dana

20 Clausen v. Icicle Seafoods, Inc. (“Icicle”), which took place in King County Superior

21 Court. (See Am. Compl. (Dkt. # 11) ¶ 9.) In that case, Mr. Clausen, a seaman, sued

22 Icicle in 2008 after he was injured on a boat owned by Icicle. (Id.) Icicle retained


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 1 Holmes Weddle to defend that action. (Id. ¶ 10.) During discovery, Holmes Weddle

 2 produced an Icicle claim file; during trial, the parties realized the claim file was missing a

 3 critical document. (Id. ¶¶ 11-13.) The case was tried to a jury, and the jury awarded Mr.

 4 Clausen $453,100.00 in compensatory damages and $1.3 million in punitive damages.

 5 (Id. ¶ 14.) After trial, the court sanctioned Holmes Weddle $5,000.00 and Icicle $10,000

 6 for discovery violations stemming from the incomplete claim file, finding that Holmes

 7 Weddle and Icicle had “recklessly certified” that the claim file was complete when in fact

 8 it was not. (Id. ¶¶ 17-19.) The court also awarded Mr. Clausen $387,558.00 in attorney’s

 9 fees and $40,547.57 in costs. (Id. Ex. H ¶ 5.24.) As a result of these events, the

10 Washington State Bar Association opened a grievance proceeding against Mark Sanford,

11 the Holmes Weddle attorney assigned to the Clausen matter; Mr. Sanford eventually

12 stipulated to a reprimand for his reckless certification of the incomplete claim file. (Id.

13 ¶¶ 20-23.)

14         The second lawsuit involved in this case flowed directly from the first. In the

15 second lawsuit, Icicle sued Holmes Weddle for legal malpractice in the Clausen action.

16 (Id. ¶ 41.) This legal malpractice case is currently pending in King County Superior

17 Court. (See Mot. to Stay at 5.) In the malpractice action, Icicle alleges that Mr. Sanford

18 committed legal malpractice (for which Holmes Weddle would be liable) by failing to

19 provide the entire claim file in discovery, by failing to warn Icicle about the risk of a

20 punitive damages award, and by failing to settle the case, among other allegations. (Am.

21 Compl. Ex. H ¶ 6.3.) After Icicle filed the malpractice action, Holmes Weddle gave

22 notice of the action to Federal. (Id. ¶ 47.) Federal agreed to defend Holmes Weddle in


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 1 the malpractice action subject to a reservation of rights, including the right to file an

 2 action for declaratory relief with respect to coverage. (Id. ¶ 48.) Federal also obtained

 3 from Holmes Weddle an agreement to indemnify Federal for any defense costs in the

 4 malpractice action in the event a court of law determines that Icicle’s claim is not a

 5 covered loss under Holmes Weddle’s malpractice policy. (Id. ¶ 49.)

 6         The third lawsuit, this coverage action, followed not long after. In this case,

 7 Federal seeks a declaratory judgment that the malpractice action does not involve a

 8 covered loss under Holmes Weddle’s policy. (Id. ¶ 58.) Holmes Weddle filed this

 9 motion to stay on August 13, 2013, and Federal filed a motion for summary judgment

10 three weeks later. (See Dkt.) The court temporarily stayed all pending deadlines in the

11 case at the parties’ request (9/26/13 Stip. (Dkt. # 33)), including the briefing deadlines on

12 Federal’s motion for summary judgment (10/30/13 Stip. (Dkt. # 37)). On October 16, the

13 court heard oral argument on this motion to stay. (10/16/13 Min. Entry (Dkt. # 35).)

14 Following argument, the court issued an order indicating that briefing should proceed on

15 three of the issues raised in Federal’s summary judgment motion. (11/14/13 Order at 7-

16 8.) The court opined that “[i]t may be that all that is needed to decide this coverage

17 action is to apply settled contract and insurance law to a set of admitted and undisputed

18 facts.” (Id. at 6.) Ever hopeful of resolving the case, the court asked for the parties’

19 assistance in sharpening the issues with the goal of settling their dispute without undue

20 delay. (See id. at 6-8.) However, the best laid plans of judges often go awry, cf. Midwest

21 Indep. Transmission Sys. Operator, Inc. v. F.E.R.C., 388 F.3d 903, 913 (D.C. Cir. 2004)

22 (best laid plans of federal agencies often go awry); In re Young, 66 F.3d 376, 377 (1st


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 1 Cir. 1995) (best laid plans of creditors and debtors often go awry) (citing Robert Burns,

 2 To a Mouse (1785)); Disabled in Action of Penn. v. Se. Penn. Transp. Auth., 539 F.3d

 3 199, 212 n.14 (3d Cir. 2008) (it is “axiomatic” that the best laid plans often go awry), and

 4 that has proven true in this case. For the reasons explained below, the court is unable to

 5 rule on Federal’s motion for summary judgment and, instead, GRANTS Holmes

 6 Weddle’s motion to stay.

 7                                    III.   ANALYSIS

 8 A.      Standard on a Motion to Stay

 9         A district court has discretionary power to stay proceedings before it. Lockyer v.

10 Mirant Corp., 398 F.3d 1098, 1109 (9th Cir. 2005). This power to stay is “incidental to

11 the power inherent in every court to control the disposition of the causes on its docket

12 with economy of time and effort for itself, for counsel, and for litigants.” Landis v. N.

13 Am. Co., 299 U.S. 248, 254 (1936); see also Gold v. Johns-Manville Sales Corp., 723

14 F.2d 1068, 1077 (3rd Cir. 1983) (holding that the power to stay proceedings comes from

15 the power of every court to manage the cases on its docket and to ensure a fair and

16 efficient adjudication of the matter at hand). Economy of time and effort is best

17 accomplished by the “exercise of judgment, which must weigh competing interests and

18 maintain an even balance.” Landis, 299 U.S. at 254-55.

19         When considering a motion to stay, the court weighs a series of competing

20 interests: (1) the possible damage that may result from the granting of the stay; (2) the

21 hardship or inequity which a party may suffer in being required to go forward; and (3) the

22 orderly course of justice measured in terms of the simplification or complication of


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 1 issues, proof, and questions of law that could be expected to result from a stay. CMAX,

 2 Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962) (citing Landis, 299 U.S. at 254-55); see

 3 also Lockyer, 398 F.3d at 1109. As the Ninth Circuit has noted, “Landis cautions that ‘if

 4 there is even a fair possibility that the stay . . . will work damage to some one else,’ the

 5 party seeking the stay ‘must make out a clear case of hardship or inequity.’” Lockyer,

 6 398 F.3d at 1112 (quoting Landis, 299 U.S. at 255).

 7 B.      The Three Factors

 8         1. Possible damage from the granting of a stay

 9         It is possible that Federal will be damaged by a stay. “[A]n insurer may be

10 prejudiced by having to pay defense costs in a case where there may be no duty to defend

11 if the stay is granted.” See Cont’l Cas. Co. v. Global Allies, LLC, No. 2:11-cv-03237-

12 MCE-KJN, 2012 WL 5289315, at *4 (E.D. Cal. October 24, 2012); see also Or. Mut. Ins.

13 Co. v. Ham & Rye, LLC, No. C10-579RJB, 2010 WL 2787852, at *4 (W.D. Wash. July

14 14, 2010) (insurer has an “interest” in not continuing to represent insured if no defense is

15 owed). That said, there is a lower risk of damage here than in an ordinary case of this

16 kind. Here, Federal has an indemnification clause under which it can attempt to recoup

17 expenses from Holmes Weddle in the event that a court eventually declares there is no

18 coverage. (See MSJ at 16-17.) And while the court takes no position on the question of

19 whether this indemnification agreement will ultimately be enforceable (an issue the

20 parties contest), the agreement’s existence lessens the likelihood that Federal will be

21 damaged by a stay.

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 1          2. Hardship or inequity in being required to go forward

 2          Moreover, any possible damage to Federal is outweighed by the hardship or

 3 inequity inherent in allowing the case to move forward. There are numerous reasons why

 4 an insured might be prejudiced by being required to go forward with a coverage action

 5 while the underlying liability action is ongoing. See, e.g., Allied Prop. and Cas. Ins. Co.

 6 v. Roberts, No. 2:11-cv-00740-MCE-KJN, 2013 WL 5230259, at *3 (E.D. Cal.

 7 September 16, 2013). Three concerns are particularly salient in the case law:

 8          The first concern is that by bringing the action for a declaratory judgment
            regarding coverage, the insurer effectively attacks its insured and thus gives
 9          aid and comfort to the claimant in the underlying suit. The second concern
            is that the suit addressing insurance coverage forces the insured to fight a
10          two-front war, thereby expending precious resources fighting both the
            insurer and the third-party action, which undercuts one of the primary
11          reasons for purchasing liability insurance. The third concern is the real risk
            that, if the declaratory relief action proceeds to judgment before the
12          underlying action is resolved, the insurer could be collaterally estopped to
            contest issues in the latter by the results in the former.
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     Id. (quotation marks, ellipses, and citations omitted).
14
            All three of these concerns are present here. Federal effectively gives “aid and
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     comfort” to Icicle by maintaining this parallel action against Holmes Weddle while the
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     malpractice lawsuit continues. See id. As Holmes Weddle argues, Federal has a duty to
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     refrain from “engaging in any action which would demonstrate greater concern for the
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     insurer’s monetary interest than for the insured’s financial risk.” (Mot. to Stay at 12
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     (quoting Mut. of Enumclaw Ins. Co. v. Dan Paulson Constr., Inc., 169 P.3d 1, 8 (Wash.
20
     2007)).) Holmes Weddle paid a premium to expect that Federal would abide by this
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     obligation, and it prejudices Holmes Weddle to be deprived of this benefit by seeing its
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 1 insured providing even indirect and unintentional assistance to Icicle. Along these same

 2 lines, Holmes Weddle is being forced to fight a “two-front war,” expending “precious

 3 resources” litigating this coverage action in federal court while also defending the

 4 malpractice action in state court. See Roberts, 2013 WL 5230259, at *3. Holmes

 5 Weddle must defend this action and the state court malpractice action at the same time,

 6 which “inures to Federal’s benefit at the law firm’s expense.” (See Mot. to Stay at 12.)

 7         But the third concern discussed in the case law is front and center in this case.

 8 There is a real and tangible risk that deciding this case would prejudice Holmes Weddle’s

 9 malpractice defense. This is because resolving this case on Federal’s summary judgment

10 motion would require finding facts that would be of significance to the malpractice

11 action. Indeed, it is improper for a court to proceed with a coverage action if doing so

12 means finding material facts that could interfere with a parallel liability action. See, e.g.,

13 Oregon Mut., 2010 WL 2787852, at *4; Paulson, 169 P.3d at 10. At this time, there is no

14 way to resolve this case without doing exactly that.

15         In its prior order, the court identified two possible ways to resolve this case

16 without causing prejudice to Holmes Weddle. (11/14/13 Order at 7.) It is now apparent

17 that neither is viable. The first possibility was to apply the “Related Claims” exclusion to

18 Holmes Weddle’s coverage claim. (Id. at 7.) The Related Claims exclusion appears to

19 bar coverage if the discovery violations in the original maintenance and cure action were

20 “based upon, arising from, or in consequence of the same or related facts, circumstances,

21 situations, transactions, or events” as the claims in the malpractice action. (Butera Decl.

22 (Dkt # 27) Ex. C.) In its prior order, the court opined that it may be able to resolve this


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 1 issue by examining “the proximity of the relationship between the post-trial sanctions

 2 motion and Icicle’s legal malpractice claim.” (11/14/13 Order at 6-7.) It is now clear

 3 that more would be required. In order to resolve this issue, and this case, it would be

 4 necessary to determine the extent to which Icicle’s malpractice claim was “based upon,

 5 arising from, or in consequence of” the discovery violations in the original maintenance

 6 and cure action. (See MSJ at 12-14.) This would involve a substantial amount of factual

 7 overlap with the causation inquiry that will be assigned to the jury in the malpractice

 8 action. As the court previously stated, “it would be improper for the court to make

 9 findings that any particular conduct by Mr. Sanford or Holmes Weddle caused harm in

10 the Clausen case or caused a malpractice action to be filed” or “to attempt to apportion

11 causation for the malpractice claim between different alleged acts by Mr. Sanford . . . .”

12 (11/14/13 Order at 6.) Since that appears to be necessary to resolve this issue, this

13 avenue is not open to the court.

14         The second possibility is not viable either. The second possibility the court

15 identified was to apply the “Prior Knowledge and Application Exclusion” to Holmes

16 Weddle’s coverage claim. (11/14/13 Order at 7.) That exclusion bars coverage for any

17 claim “based upon [or] arising from . . . any fact, circumstance, situation, transaction,

18 event, or Wrongful Act occurring prior to [January 12, 2012,] which, prior to such []

19 date, any Insured knew or should have known might give rise to a claim . . . .” (Butera

20 Decl. Ex. C.) Federal argues that this exclusion applies because Holmes Weddle knew

21 about the conduct underlying the malpractice action well in advance of January 12, 2012.

22 (MSJ at 15-16.) Federal and Holmes Weddle suggest different standards that the court


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 1 might apply to determine if this was enough to charge Holmes Weddle with knowledge

 2 that Mr. Sanford’s conduct “might give rise to a claim.” (Compare MSJ at 16 (citing

 3 Tewell, Thorpe & Findlay, Inc., P.S. v. Cont’l Cas. Co., 825 P.2d 724, 728 (Wash. Ct.

 4 App. 1992)) with Resp. at 25 (citing Westport Ins. v. Atchley, Russell, Waldorp &

 5 Hlavinka, LLP, 267 F. Supp. 601, 623 (E.D. Tex. 2003)).) And while these standards

 6 differ in some respects, it is clear that under either one, the court’s task will include

 7 examining the severity of Mr. Sanford’s misconduct and assessing the degree to which it

 8 bespeaks legal malpractice. This is precisely what the jury will be asked to do in the

 9 malpractice action. Thus, this avenue is not open to the court either.

10         With these two possibilities eliminated, it appears that there is no way to resolve

11 this case without finding facts that would be of consequence in the malpractice action.

12 Accordingly, the danger of prejudice to Holmes Weddle is high, strongly suggesting that

13 a stay is the best course of action.

14         3. Orderly course of justice

15         The orderly course of justice also counsels in favor of a stay. This factor is

16 measured in terms of the simplification or complication of issues, proof, and questions of

17 law that could be expected to result from a stay. CMAX, 300 F.2d at 268. This case

18 would certainly be simplified by a clear determination of liability in the malpractice case

19 accompanied by findings of fact or a special verdict form indicating the harm attributable

20 to each different category of alleged attorney misconduct. Indeed, the court’s task on this

21 summary judgment motion would be much easier at that point. And even if this

22 efficiency did not materialize, staying the case will still simplify questions of law and


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 1 issues of proof because the court will no longer have to navigate the minefield of possible

 2 prejudice it currently finds itself navigating. (See 11/14/13 Order.) Finally, it coheres

 3 with ordinary notions of common law justice to let the jury find facts first and hear judge-

 4 decided issues only after the jury has spoken. Cf. Ross v. Bernhard, 396 U.S. 531, 537-

 5 38 (1970) (in a bifurcated trial, jury phase must ordinarily precede bench phase); Dollar

 6 Sys., Inc. v. Avcar Leasing Sys., Inc., 890 F.2d 165, 170 (9th Cir. 1989) (same).

 7                                   IV.   CONCLUSION

 8         For the foregoing reasons, the court concludes that Holmes Weddle has made out a

 9 “clear case of hardship or inequity,” Lockyer, 398 F.3d at 1112, and GRANTS Holmes

10 Weddle’s motion to stay (Dkt. # 17). The court stays all proceedings in this case,

11 suspends all deadlines, and STRIKES Federal’s pending motion for summary judgment

12 (Dkt. # 26) without prejudice to re-raising the arguments contained therein after all

13 danger of prejudice has passed.

14         Dated this 31st day of January, 2014.

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                                                     A
                                                     JAMES L. ROBART
18                                                   United States District Judge

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